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Certificate Number: 15725-CAC-CC-039 154884

5S-CAC-CC-03915488

CERTIFICATE OF COUNSELING

I CERTIFY that on December 13, 2024, at 1:11 o'clock PM EST, Taurean Wright
received from 001 Debtorcc, Inc., an agency approved pursuant to 11 U.S.C. 111
to provide credit counseling in the Central District of California, an individual [or
group] briefing that complied with the provisions of 11 U.S.C. 109(h) and 111.

A debt repayment plan was not prepared. If a debt repayment plan was prepared, a
copy of the debt repayment plan is attached to this certificate.

This counseling session was conducted by internet.

Date: December 13, 2024 By: /s/Israel Guevara

Name: Israel Guevara

Title: Counselor

* Individuals who wish to file a bankruptcy case under title 11 of the United States Bankruptcy
Code are required to file with the United States Bankruptcy Court a completed certificate of
counseling from the nonprofit budget and credit counseling agency that provided the individual
the counseling services and a copy of the debt repayment plan, if any, developed through the
credit counseling agency. See 11 U.S.C. 109(h) and 521(b).

